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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                   Plaintiff,                   )            8:08CR87
                                                )
      vs.                                       )             ORDER
                                                )
CORLEONE MONSHAE MC CURRY,                      )
                                                )
                   Defendant.                   )



      This matter is before the court on the motion of the government for an extension of
time in which to file a response to defendant’s motion to suppress (Filing No. 25).
Government’s counsel represents that counsel for defendant Corleone Monshae McCurry
has no objection to the motion.      Upon consideration, the motion is granted.     The
government shall have to on or before May 2, 2008, in which to file a response to
defendant’s motion to suppress.


      IT IS SO ORDERED.
      DATED this 18th day of April, 2008.
                                                BY THE COURT:
                                                s/ Thomas D. Thalken

                                                United States Magistrate Judge
